On March 16, 1988, following a jury trial, appellant, George E. Hartman, was found guilty of nine counts of rape, in violation of R.C. 2907.02(A)(1)(b), and four counts of pandering sexually oriented material involving a minor, in violation of R.C. 2907.322. The Lake County Court of Common Pleas subsequently sentenced appellee to serve a life sentence of incarceration on five of the rape counts, an indefinite term of incarceration of ten to twenty-five years on four of the rape counts, and an indefinite term of incarceration of five to ten years on the pandering counts. In a judgment entry filed on December 22, 1997, the trial court adjudicated appellant to be a sexual predator pursuant to Ohio's version of Megan's Law, recently amended R.C. Chapter 2950.
Appellant timely appealed, asserting that Ohio's version of Megan's Law is unconstitutional. Pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, R.C. Chapter 2950 as applied to sexual "predators" is unconstitutional and void in its entirety; therefore, the judgment of the trial court is reversed and remanded for proceedings consistent with this opinion.
                                      _____________________ JUDGE ROBERT A. NADER
FORD, P.J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.